              24-51101-mmp Doc#77-1 Filed 09/17/24 Entered 09/17/24 10:08:48 Appendix Pg 1 of 2
Label Matrix for local noticing        Timekeepers Inc.                    United States Trustee (SMG511)
0542-5                                 1015 S SCHOOL ST                    U.S. Trustee’s Office
Case 24-51101-mmp                      Boerne, TX 78006                    615 E. Houston, Suite 533
Western District of Texas                                                  P.O. Box 1539
San Antonio                                                                San Antonio, TX 78295-1539
Wed Jul 10 12:12:01 CDT 2024
U.S. BANKRUPTCY COURT                  AT&T                                Advance Servicing Inc.
615 E. HOUSTON STREET, ROOM 597        PO Box 6463                         15 Main St
SAN ANTONIO, TX 78205-2055             Carol Stream, IL 60197-6463         Holmdel, NJ 07733-2105



Advantage Business Capital, Inc.       Amarillo National Bank              American Express
d/b/a Far West Capital                 PO Box 1                            PO Box 981531
c/o Teresa Ruiz Schober                Amarillo, TX 79105-0001             El Paso, TX 79998-1531
Schober & Schober, P.C.
1611 Nueces Street
Austin, Texas 78701-1105
Ariel Bouskila                         Benz & Klumb Lumber Co. Inc.        Christopher Benavides
1545 Route 202 Suite 101               PO Box 370                          1704 Whitewood Drive
Pomona, NY 10970-2951                  Jourdanton, TX 78026-0370           Laredo, TX 78045-8359



Christopher S. Murphy                  Christopher S. Murphy               City of Cotulla
Asst Attorney General                  Texas Attorney General’s Office     117 N Front St
Texas Attorney General’s Office        Bankruptcy & Collections Division   Beeville, TX 78104
Bankruptcy & Collections Division      P.O. Box 12548
P.O. Box 12548                         Austin, Texas 78711-2548
Austin, Texas 78711-2548
(p)CLOUDFUND LLC                       Comdata                             Darren Brehmer
400 RELLA BOULEVARD SUITE 165-101      PO Box 1239                         1015 N. School St
SUFFERN NY 10901-4241                  Covington, LA 70434-1239            Boerne, TX 78006-5902



E Advance Services                     Firstbank Southwest                 Fundfi Merchant Funding
Joseph Obermeister Esq.                2401 S. Georgia                     David Fogel Esq.
370 Lexington Avenue 801               Amarillo, TX 79109-1924             1225 Franklin Avenue 201
New York, NY 10017-6510                                                    Garden City, NY 11530-1890


GVTC                                   Genuine Tecnicall Services          INTERNAL REVENUE SERVICE
PO Box 660608                          112 E Pecan St 420                  PO BOX 7346
Dallas, TX 75266-0608                  San Antonio, TX 78205-1541          Philadelphia, PA 19101-7346



La Salle Oil                           Les J. Strieber                     Luis Alberto Sandoval
40 NE Loop 410 410                     616 E Blanco Rd, Suite 202B         2482 Edna Drive
San Antonio, TX 78216-5827             Boerne, TX 78006-2192               Eagle Pass, TX 78852-4438



NewCo Capital Group VI LLC             NewCo Capital Group VI LLC          PICO
1545 Route 202 Suite 101               Ariel Bouskila Esq.                 PO Box 1309
Pomona, NY 10970-2951                  1545 US 202 101                     Del Rio, TX 78841-1309
                                       Pomona, NY 10970
              24-51101-mmp Doc#77-1 Filed 09/17/24 Entered 09/17/24 10:08:48 Appendix Pg 2 of 2
Payroll Funding Company (PFC)                        Pilot Thomas                                         Robles Industries, LLC
10956 Viaje Avenue                                   PO Box 737749                                        20807 Cape Coral
Las Vegas, NV 89135-7923                             Dallas, TX 75373-7749                                San Antonio, TX 78259-2076



SBA EIDL Loan                                        STEVEN B. BASS                                       Scott Sebold
14925 Kingsport                                      Assistant United States Attorney                     43 Looking Up Dr
Fort Worth, TX 76155-2243                            903 San Jacinto Blvd., Suite 334                     Marshfield, MO 65706-1363
                                                     Austin, Texas 78701-2449


Transworld Leasing Corportation                      United States Trustee - SA12                         Villa & White LLP
21403 IH-10 West                                     US Trustee’s Office                                  100 NE Loop 410 Suite 615
San Antonio, TX 78257-1618                           615 E Houston, Suite 533                             San Antonio, TX 78216-4713
                                                     San Antonio, TX 78205-2055


Michael G. Colvard                                   Morris Eugene White III
Martin & Drought, PC                                 Villa & White LLP
Weston Centre                                        100 NE Loop 410 Suite 615
112 E Pecan St, Suite 1616                           San Antonio, TX 78216-4713
San Antonio, TX 78205-8902



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Cloudfund LLC                                        End of Label Matrix
400 Rella Blvd 165-101                               Mailable recipients     40
Suffern, NY 10901                                    Bypassed recipients      0
                                                     Total                   40
